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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                         )    Chapter 11
In re:
                                                         )
                                                         )    Case No. 16-12238 (BLS)
FIAC Corp., et al., 1
                                                         )
                                                         )    Jointly Administered
                          Debtors.
                                                         )
                                                         )
West Loop South LLC and Epocs                            )
Real Estate Partnership, Ltd.,                           )
                           Plaintiffs                    )
v.                                                       )
Secure Point Technologies, Inc.                          )
                                                         )    Adv. Pro. No. _________
(f/k/a “Implant Sciences Corporation”)
                                                         )
                                                         )
         -and-
                                                         )
                                                         )
DMRJ Group LLC,
                                                         )
                          Defendants.
                                                         )

                       COMPLAINT TO, AMONG OTHER THINGS,
                        DETERMINE THE VALIDITY, PRIORITY,
                 AND EXTENT OF A LIEN UPON, OR OTHER INTEREST IN,
                      PROPERTY OF THE BANKRUPTCY ESTATE

         West Loop South LLC and Epocs Real Estate Partnership, Ltd. (the “West Loop

Creditors”), demand judgment against Debtor Secure Point Technologies, Inc., formerly known

as “Implant Sciences Corporation” (“Implant Sciences”) and DMRJ Group LLC (“DMRJ”) as

set forth below, and in support, respectfully aver as follows:

                                         NATURE OF THE CASE

         1.      This action seeks to enforce the West Loop Creditors’ rights to collect proceeds of

a promissory note that was executed and delivered by Implant Sciences to DMRJ and which the

 1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
 as follows: FIAC Corp. (f/k/a IMX Acquisition Corp.) (9838); Secure Point Technologies, Inc. (f/k/a Implant
 Sciences Corporation) (7126); FCAC Corp. (f/k/a C Acquisition Corp.) (8021); FASIC Corp. (f/k/a Accurel
 Systems International Corporation) (3856). The Debtors have stated that their headquarters are located at 215
 Depot Ct. SE, Suite #212, Leesburg, VA 20175.


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Debtors have scheduled as secured and undisputed. DMRJ pledged the promissory note and all

of its proceeds to secure DMRJ’s guaranty of debts its parent company, Platinum Partners Value

Arbitrage Fund L.P. (“PPVA”) and predecessors in interest then owed and still owe to the West

Loop Creditors. The West Loop Creditors seek a declaration that they presently hold a direct

claim under the promissory note against the estate of Implant Sciences, as evidenced by duly

filed and supported proofs of claim; or, in the alternative, specific performance of their

unqualified right to DMRJ’s endorsement to them of the promissory note, to foreclose their

security interest against their collateral – including the promissory note and its proceeds – and

other declaratory and related relief, including to collect and apply proceeds of the promissory

note toward payment of their claims.

                                JURISDICTION AND VENUE

       2.       This Court has jurisdiction to consider this proceeding under 28 U.S.C. §§ 157

and 1334(b) and (e)(1), and 1332. This is a core proceeding under 28 U.S.C. § 157(b) because it

seeks to determine rights in and to property of Implant Sciences’ bankruptcy estate. To the

extent an independent basis of jurisdiction is required for claims against DMRJ, the Court has

jurisdiction of such claims under 28 U.S.C. § 157(c) because such claims arise in and are

“related to” the Debtors’ bankruptcy cases in that this case will determine whether DMRJ or the

West Loop Creditors are the legal holder of the promissory note, and will determine the extent to

which these respective claimants are entitled to payment from property of the bankruptcy estates,

that is, from proceeds of the promissory note. In the further alternative, this case is between

plaintiffs and defendants who are citizens of different states, and the amount in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs. Venue of this proceeding in

this district is proper under 28 U.S.C. §§ 1408 and 1409.



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       3.       The legal predicates for the relief requested herein are Bankruptcy Code sections

105(a), 363, 541, 546, 1107(a), and 1108. This proceeding has been commenced in accordance

with Rule 7001(2) of the Federal Rules of Bankruptcy Procedure (the “FRBP”).

       4.       Pursuant to Rule 7008-1 of the Local Rules of Bankruptcy Practice and Procedure

for the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the

West Loop Creditors consent to the entry of a final judgment or order with respect to this

proceeding if it is determined that this Court, absent consent of the parties, cannot enter final

orders or judgments consistent with Article III of the United States Constitution.

       5.       This Court has jurisdiction over DMRJ because it is a Delaware limited liability

company, has appeared in the captioned jointly-administered main bankruptcy cases, filed proofs

of claim against these Debtors, has actively participated and sought relief in these bankruptcy

cases; and has, upon information and belief, on multiple other occasions otherwise purposely

availed itself of privileges of doing business and pursuing legal relief in Delaware.

                                            PARTIES

       6.       West Loop South LLC (“West Loop”) is a limited liability company organized

under the laws of the State of Texas. It maintains its principal office at 6300 West Loop South,

Suite 100, Bellaire, Texas 77401.

       7.       Epocs Real Estate Partnership, Ltd. (“Epocs”) is a limited partnership organized

under the laws of the State of Texas. It maintains its principal office at 6300 West Loop South,

Suite 100, Bellaire, Texas 77401.

       8.       DMRJ is a limited liability company organized under the laws of the state of

Delaware and may be served through its registered agent at VCorp Services, LLC, 1013 Centre

Road, Suite 403-B, Wilmington, DE 19805.         On information and belief, DMRJ does not have



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any current employees. Rather, it is owned, controlled and managed by its sole member, PPVA.

PPVA is the subject of a liquidation proceeding pending in the Court of the Grand Cayman

Islands (the “Cayman Proceeding”), and there are Joint Official Liquidators appointed in that

proceeding who may be served on its behalf if necessary or desirable. The law firm of Holland &

Knight LLP represents DMRJ and PPVA in these bankruptcy cases and also represents the Joint

Official Liquidators in the Cayman Proceeding.

       9.       Implant Sciences, one of the debtors and debtors in possession herein, on

information and belief, is a Massachusetts corporation. It has appeared through counsel, and

may be served through such counsel.

                                             FACTS

       10.      As further detailed below, as of December 28, 2015, PPVA had defaulted on debt

obligations owed to the West Loop Creditors by failing to pay them in full when due, although it

did continue to pay interest through May 2016. Thereafter, the West Loop Creditors, PPVA, and

DMRJ entered into a certain Forbearance and Security Agreement dated July 5, 2016 (the

“Forbearance Agreement”) in which DMRJ, among other things, guaranteed obligations owed

to the West Loop Creditors by PPVA and others, also as further detailed below.

       11.      To secure its guaranty, DMRJ also granted the West Loop Creditors a first

priority security interest in, and all rights to payment under, a certain Senior Secured Convertible

Promissory Note dated September 5, 2012 in the original principal amount of $12,000,000 (the

“2012 Note”) issued to DMRJ by Implant Sciences in connection with transactions otherwise

unrelated to this proceeding.

       12.      Thereafter, PPVA defaulted by failing to pay its obligations to the West Loop

Creditors and DMRJ defaulted by failing to pay when due the amount owed under its guaranty of



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those obligations. By letter dated November 30, 2016, the West Loop Creditors served written

notice of default, a demand upon DMRJ not to interfere with their right to pursue payment on the

2012 Note, and notice and instruction to DMRJ that any funds it might receive under or in

respect of the 2012 Note it would hold in trust for their benefit.

       13.      Implant Sciences, the issuer of the 2012 Note, is a debtor in these chapter 11

proceedings in Case No. 16-12238 (BLS) (the “Bankruptcy Case”). Events in the Bankruptcy

Case have resulted in funds being available to pay the 2012 Note, with interest as agreed, in full.

Based on their proofs of claim and other actions taken by the West Loop Creditors in the

Bankruptcy Case, the Bankruptcy Court has ordered Debtors to set aside, and Debtors have set

aside, an amount of funds the interested parties have identified as the “2012 Note Reserve” (the

“2012 Note Reserve”) for the benefit of the West Loop Creditors, DMRJ and PPVA, as their

interests may be determined. [D.I. 752] But the Bankruptcy Court has expressly not ruled on the

validity, extent, entitlement to payment or the source of payment on the West Loop Creditors’

proofs of claims, to which the Debtors have objected as being secured claims against DMRJ and

not direct claims against Implant Sciences, and on which a hearing, to which DMRJ is not and

cannot be a party, is presently scheduled on June 28, 2017.

       14.      Negotiations are presently taking place among the interested parties in an attempt

to create an escrow fund for the 2012 Note Reserve. Pending the success or failure of those

negotiations, proceeds of the 2012 Note sufficient to pay the entire guaranteed indebtedness

owed to the West Loop Creditors are to be held by Implant Sciences and its co-debtors in a

segregated debtor-in-possession account for the benefit of these claimants as their interests may

ultimately be determined.




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       A. Value Supplied to DMRJ under the Inventory Purchase and Sale Transactions

       15.      In the Forbearance Agreement, DMRJ and PPVA acknowledged their joint and

several liability on the debts owed to the West Loop Creditors, which arose as follows. As

evidenced by that certain Promissory Note dated as of August 12, 2015 (the “PPVA Note”),

(a) Epocs made loans to PPVA in the principal sum of $2,520,386.84; and (b) West Loop sold

merchandise on credit to MEE Direct, LLC (“MEE”), an affiliate of or company otherwise

related to PPVA, the current $2,569,716.84 balance of which, after accounting for the accrual of

interest and a principal reduction of $100,000, which became due and payable but which MEE

was unable to pay. In order to finance MEE’s debts and allow it to continue in business, PPVA

assumed the obligation, and (c) pursuant to that certain Inventory Purchase and Sale Agreement

dated as of October 13, 2015, PPVA guaranteed debt that totaled $2,065,773.48 for purchases of

merchandise sold by West Loop to TC Ops, LLC, an affiliate of or company otherwise related to

PPVA, which was engaged in the business of importing and selling clothing, including that sold

to TC Ops, LLC by West Loop.

       16.      PPVA itself then became unable to pay the obligations it owed to the West Loop

Creditors. PPVA arranged for its wholly-owned and managed subsidiary, DMRJ, to guaranty the

entire outstanding amount. In addition to assuming joint and several liability on the debts with

recourse limited to the proceeds of the 2012 Note, DMRJ induced the West Loop Creditors to

forbear collection activity until October 31, 2016, with the grant of a security interest in all of

DMRJ’s interest in the 2012 Note and its proceeds and delivered to them an original, manuscript-

executed “Duplicate Replica” of the 2012 Note, of which the West Loop Creditors continue to

have possession. The West Loop Creditors understand that the Duplicate Replica was issued

because the original note had been lost,



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       17.      In sum, the underlying debts guaranteed by DMRJ arose from inventory sales and

financing provided by the West Loop Creditors to and for the benefit of its parent PPVA and the

parties whose debts PPVA assumed and became responsible to pay. The debts accrue interest

and other charges as provided in the documents evidencing the debts.

       18.      The 2012 Note, originally maturing on March 31, 2013, was duly and effectively

extended a number of times through final maturity which was to and did occur on October 31,

2016, pursuant to a series of Omnibus Amendments. See Exhibit 2 described below, and

Omnibus Amendment documents publicly available under references to Implant Sciences at

www.sec.gov.

       19.      In the Bankruptcy Case, Implant Sciences scheduled the amount due DMRJ under

the 2012 Note as an undisputed, non-contingent, secured liability in the liquidated amount of

$18,260,900.44. DMRJ filed proofs of claims for secured claims in unliquidated amounts which

were logged as Claims Nos. 136-144 in the official Claims Register.

       20.      DMRJ has acknowledged in writing that as of October 31, 2016, the guaranteed

debt due the West Loop Creditors was $7,698,745.74. When payment was due and not received,

and when PPVA’s liquidation in Grand Cayman became known, the West Loop Creditors sent

DMRJ a notice of default and a demand that DMRJ not interfere with their collection under the

2012 Note.

       21.      Attached and incorporated by this reference are: Exhibit 1, the Forbearance and

Security Agreement dated July 5, 2016; Exhibit 2, the Duplicate Replica 2012 Note with the

accompanying cover letter dated March 7, 2016 from Implant Sciences’ Chief Financial Officer

Roger P. Deschenes, and Exhibit 3, the notice of default and demand letter issued to DMRJ.

       22.      The Forbearance Agreement provides, inter alia:



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                DMRJ hereby guarantees that it shall be jointly and severally liable for
                repayment of the Obligations to the [West Loop] Creditors but, for such
                purpose, DMRJ's liability shall be limited to DMRJ's rights and remedies
                (including without limitation proceeds) under the [2012] Note. Without
                limiting the foregoing, for purposes of securing the Obligations, DMRJ
                hereby grants to the [West Loop] Creditors a first priority security interest
                in and to all of DMRJ's rights and remedies under the [2012] Note,
                including without limitation in and to all payments and proceeds from
                the maker (Implant Sciences Corporation) thereunder. The Creditors
                shall have the right to make applicable UCC filings with respect to the
                foregoing, and Platinum and DMRJ shall cooperate with respect thereto,
                including without limitation by delivering to the Creditors the original
                signed version of the Secured Note as necessary to perfect such security
                interest.

(Emphasis added).

       23.      The West Loop Creditors’ Proofs of Claim were logged as Claims Nos. 69-74 in

the official Claims Register, and are incorporated by reference.


                                                  COUNT 1

         Determination of the Validity, Extent and Priority of the West Loop Creditors’
       Lien, Interest In, and Right to Payment under, the 2012 Note (11 U.S.C. §§ 541, 503)

       24.      The West Loop Creditors incorporate and reallege each preceding paragraph.

       25.      The West Loop Creditors hold a first priority, duly perfected security interest in,

and superior right to payment under, the 2012 Note. The West Loop Creditors have a present,

noncontingent right to enforce payment of the portion of the 2012 Note equaling their debt, with

interest continuing to accrue per diem, directly from the bankruptcy estate in the Bankruptcy

Case, or wherever else the proceeds may be held.

       26.      Until the West Loop Creditors receive full payment of the guaranteed

indebtedness, DMRJ is entitled to receive no portion of the 2012 Note or its proceeds. For

avoidance of doubt, the West Loop Creditors do not assert claims against the proceeds of the

2012 Note for more than the amount they are owed, and are not seeking to collect from the


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bankruptcy estate until the bankruptcy estate is ready to disburse the funds pursuant to further

order of the Bankruptcy Court, or the automatic stay no longer prevents payment out of Implant

Sciences’ bankruptcy estate.

       27.      As of April 21, 2017, $8,113,477.82 was due the West Loop Creditors under the

Forbearance Agreement and the 2012 Note. The Forbearance Agreement grants to the West

Loop Creditors the right to receive payment directly from Implant Sciences.            Indeed, the

guaranty in the Forbearance Agreement is nonrecourse against DMRJ, so recovery requires

collection from the maker of the 2012 Note, or proceeds payable thereunder, i.e., the 2012 Note

Reserve.

                                            COUNT 2

Specific Performance in Enforcement of Security Interest (NY CLS UCC § 3-201(3) (2017)

       28.      The West Loop Creditors incorporate and reallege each preceding paragraph.

       29.      The West Loop Creditors seek enforcement of the Forbearance Agreement.

Although it is silent as to the law applicable to the parties’ agreement, the 2012 Note recites that

it is to be governed by and construed in accordance with the internal laws of the State of New

York, without giving effect to any of the conflicts of law principles which would result in the

application of the substantive laws of another jurisdiction. For present purposes, the West Loop

Creditors are willing to assume the applicability of New York law.

       30.      Under New York law, unless otherwise agreed, any transfer for value of an

instrument not then payable to bearer gives the transferee the specifically enforceable right to

have the unqualified indorsement of the transferor. NY CLS UCC § 3-201(3) (2017).

       31.      The 2012 Note was made payable to the order of DMRJ, not to bearer. Here, the

express terms of the Forbearance Agreement, coupled with the language of conveyance



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delivering physical possession of the original Duplicate Replica 2012 Note to perfect the security

interest granted therein, supply a sufficient basis for the West Loop Creditors to require payment

to them directly from Implant Sciences, the maker of the 2012 Note.              If any additional

endorsement is necessary, then the West Loop Creditors seek specific performance of their

unqualified right to obtain the endorsement of DMRJ on the 2012 Note.

       32.      The West Loop Creditors also seek relief preventing DMRJ from interfering in

any manner with their direct right of collection from this bankruptcy estate or wherever the

proceeds of the 2012 Note may reside, under the Forbearance Agreement and applicable law.


                                            COUNT 3

  Objection to DMRJ’s Claims, Request to Enforce Subordination Agreement and, in the
           Alternative, for Equitable Subordination (11 U.S.C. § 510(a) and (c))

       33.      The West Loop Creditors incorporate and reallege each preceding paragraph.

       34.      The West Loop Creditors assert, on information and belief, that, having lost the

original 2012 Note, DMRJ does not have an original, and that the West Loop Creditors have

physical possession of the only “original” of the 2012 Note. The West Loop Creditors object to

any payment being made to or for the benefit of DMRJ on account of claims under the 2012

Note until the West Loop Creditors are paid in full on the amount presently due and owing, not

less than $8,113,477.82 as of April 21, 2017, together with per diem interest until paid.

       35.      Under the Bankruptcy Code, a subordination agreement is enforceable to the same

extent that it is enforceable under applicable non-bankruptcy law. Pursuant to the Forbearance

Agreement, DMRJ agreed that, after default, the West Loop Creditors would enjoy a superior

right in and to all of DMRJ's rights and remedies under the [2012 Note], “including without

limitation in and to all payments and proceeds from the maker (Implant Sciences Corporation)



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thereunder.”        Accordingly, pursuant to section 510(a), the West Loop Creditors seek

enforcement of the subordination agreement executed in their favor by DMRJ.

       36.      In the alternative, as a result of the acts described above, and others, the West

Loop Creditors seek to equitably subordinate all of DMRJ’s claims against Debtors under the

2012 Note, pursuant to 11 U.S.C. § 510(c). DMRJ’s actions constitute inequitable conduct and

misconduct by DMRJ, which threaten to cause harm to and injure the West Loop Creditors and

confer an unfair advantage upon DMRJ. Equitable subordination of all of DMRJ’s claims will

prevent the occurrence of injustice or unfairness in the administration of this bankruptcy estate

and is not inconsistent with the provisions of the Bankruptcy Code.

                                            COUNT 4

                         Request for Declaratory Relief (28 U.S.C. § 2201)


       37.      The West Loop Creditors incorporate and re-allege each preceding paragraph.

       38.      A complaint for declaratory relief pursuant to FRBP 7001(9) can provide the

same relief as is available to a plaintiff pursuant to FRBP 7001(1), (2) and (7). FRBP 7001(9)

provides that a declaratory judgment can include “a proceeding to obtain a declaratory judgment

relating to any of the foregoing,” i.e., any of the adversary proceeding types delineated in FRBP

7001(1) through (8). The West Loop Creditors seek declaratory relief to the extent necessary to

provide the same relief available pursuant to their other substantive causes of action.

       39.      The West Loop Creditors reserve the right to amend this Complaint.

                                     PRAYER FOR RELIEF

       For these reasons, the West Loop Creditors seek judgment against DMRJ granting the

following relief:




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     (a)    prohibiting or conditioning any disbursement of funds to DMRJ or on its claims, or

            the claims held by any affiliate or assign of DMRJ, or in accordance with any

            instructions received from DRMJ or anyone acting for or in concert with DMRJ, until

            the Court has fully adjudicated the validity, extent and priority of the West Loop

            Creditors’ claims and DMRJ’s claims;

     (b)    granting adequate protection to the interests of the West Loop Creditors in all

            proceeds of the 2012 Note and 2012 Note Reserve;

     (c)    disallowing the claims of DMRJ or subordinating them to those of the West Loop

            Creditors;

     (d)    preventing disbursement of any funds to, for the benefit of, or at the direction of

            DMRJ until it produces the original of the 2012 Note underlying its claims;

     (e)    enforcing the West Loop Creditors’ security interest in the 2012 Note and its

            proceeds, including the 2012 Note Reserve;

     (f)    in the absence of a right to legal subordination, equitably subordinating the DMRJ

            claims so they are paid behind those of the West Loop Creditors’ claims;

     (g)    enforcing specific enforcement of the West Loop Creditors’ right to an unqualified

            endorsement of the 2012 Note in their favor by DMRJ, and enforcing foreclosure

            upon the 2012 Note and its proceeds, including the 2012 Note Reserve;

     (h)    declaratory relief consistent with the foregoing;

     (i)    actual damages, exemplary damages, pre- and post-judgment interest on all amounts

            recovered in this adversary proceeding from DMRJ;

     (j)    reasonable attorneys’ fees and costs of Court; and

     (k)    all other legal and equitable relief to which the West Loop Creditors are entitled.



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Date: June 14, 2017                STEVENS & LEE, P.C.

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